      Case 2:06-bk-12303-EC             Doc 15 Filed 01/11/07 Entered 01/11/07 09:09:49                       Desc
                                             ocdsch7 Page 1 of 1
                   UNITED STATES BANKRUPTCY COURT
                                     Central District Of California
Debtor(s) Name:                                               For Court Use Only
                                                                                         FILED

Gary L Franklin
                                                                                   January 11, 2007


                                                                              CLERK U.S. BANKRUPTCY COURT
                                                                             CENTRAL DISTRICT OF CALIFORNIA
                                                                                 BY MPM DEPUTY CLERK


Chapter: 7

Case Number: 2:06−bk−12303−EC                                      ORDER CLOSING CASE


Order of Discharge in the above referenced case was entered on 12/14/06, and notice was provided to parties in
interest. Since it appears that no further matters are required that this case remain open, or that the jurisdiction of this
Court continue, it is ordered that the Trustee is discharged from his/her duties in this case, his/her bond is exonerated,
and the case is closed.




Dated: 1/11/07                                                         By Order of the United States Bankruptcy Court


                                                                       Jon D. Ceretto
                                                                       Clerk of Court




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